                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI

GUADALUPE ADAMS, Individually,                      :
                                                    :
               Plaintiff,                           :
                                                    :    Case No. 6:15-cv-3265
v.                                                  :
                                                    :
ROOMS 4U, LLC                                       :
A Domestic Limited Liability Company                :
             Defendant                              :
_______________________________________/


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a), the parties jointly stipulate to the dismissal of this action

with prejudice, with the parties paying their own costs.


       A proposed Order is submitted contemporaneously.


       WHEREFORE, the parties request that this Court dismiss this action with prejudice, with

the parties paying their own costs.


       Respectfully submitted,


 /s/Pete M. Monismith_______                            /s/ Robert R. Paulson, II_
 Pete M. Monismith PC                                   Robert R. Paulson II
 3945 Forbes Avenue                                     Missouri Bar #40243
 #175                                                   P.O. Box 6422
 Pittsburgh, PA 15213                                   Branson, Missouri 65615
 724-610-1881                                           Phone: 417-335-2355
 Fax: 412-258-1309                                      Fax: 417-335-2119
 Email: pete@monismithlaw.com                           Email: bobpaulson58@gmail.com
                                                        ATTORNEYS FOR DEFENDANT
 ATTORNEY FOR PLAINTIFF




         Case 6:15-cv-03265-MDH Document 29 Filed 04/01/16 Page 1 of 1
